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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Blakes et al
                                  Plaintiffs,
                     vs.                              CASE NO. 11-cv-336
Illinois Bell Telephone Company                       Judge Kim
                              Defendant.



               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to the Parties’ settlement agreement, Illinois Bell has transferred the required settlement

funds to the settlement administrator for distribution to the Collective, Bradley Hunt and Steve

Clark. Therefore, as noted in the Parties Joint Motion for Approval of Settlement and Dismissal

filed on February 15, 2016, the Parties respectfully request that the Court’s February 17, 2016

order of dismissal without prejudice be converted to a dismissal with prejudice.

       WHEREFORE, the Parties respectfully request that the Court dismiss the

above-referenced case with prejudice.



                                                      Respectfully submitted,

/s/ George A. Stohner                                 /s/ Walker R. Lawrence
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                               CERTIFICATE OF SERVICE

By my signature below, I hereby certify that on Wednesday, March 23, 2016, I

electronically filed the Joint Stipulation of Dismissal with Prejudice with the Clerk of the

Court by using the CM/ECF System, which will send notice to counsel of record.




                                                 /s/ Walker R. Lawrence

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